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Business Services Online > Find and Update a Business Record > Business Entity Detail

Business Entity Detail

i gor | Entity details cannot be edited. This detail reflects the
Available if { Exi current state of the filing in the system.
Entity Certificate of Existence
Actions More Return to the Business Information Search.

Printer Friendly Version

Name: WAMPLER, CARROLL, WILSON & SANDERSON, P.C.
Old Name: WAMPLER & PIERCE, P.C.

Business Type: Professional Corporation

Status: Active Initial Filing Date: 07/20/1981
Formed in: TENNESSEE Delayed Effective Date:
Fiscal Year Close: December AR Due Date: 04/01/2025
Term of Duration: Perpetual Inactive Date:
Principal Office: JEFFREY LUCAS SANDERSON
208 ADAMS AVE

MEMPHIS, TN 38103-1922 USA

Mailing Address: JEFFREY LUCAS SANDERSON
208 ADAMS AVE
MEMPHIS, TN 38103-1922 USA

AR Exempt: No Obligated Member Entity: No
Shares of Stock: 1,000

Assumed Names

Name Status Expires
No Assumed Names Found...

EXHIBIT 1 Page 1 of 1
